        Case 1:22-cr-00007-LKG Document 111-1 Filed 09/13/22 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       *
                                               *
        v.                                     *           CRIMINAL NO. LKG-22-007
                                               *
MARILYN MOSBY,                                 *
                                               *
              Defendant.                       *
                                            *******

             ORDER GRANTING LEAVE TO FILE A MOTION IN LIMINE

       The Government’s motion for a leave to file a motion in limine to exclude opinions

contained for the first time in the Defendant’s supplemental disclosures of September 9, 2022, or

to continue the trial and for adequate disclosure is GRANTED.



Date: ______________________                __________________________
                                            Hon. Lydia K. Griggsby
                                            United States District Judge
